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  Exhibit 1:
  Registered Receipt
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     ffl           REGISTERED RECEIPT
                   EVIDENCE OF DELIVERY, CONTENT & TIM£

     This receipt contains verifiable proof of your RPost transaction.
                                                                                                                                 @ Mair


     The holder of this receipt has proof of delivery, message and attachment content, and official time of sending and receipt.
     Depending on services selected, the holder also may have proof of encrypted transmission and/or electronic signature.

     To authenticate this receipt, forward this email with its attachment to 'verify.@!1.niostnet' or click here


     Delivery Status
     Address                        Status              Details         Delivered (UTC*)      Delivered (local)        Opened (local)
                                    Delivered and       HTTP-           09/14/2022 09:39:15   09/14/2022 04:39:15 PM   09/14/2022 04:43:59 PM
     rhwdomains@gmail.com           Opened              IP:66.249.92.32 PM (UTC)              (UTC -05:00)             (UTC -05:00)
     *UTC represents Coordinated Universal Time: l!!!P.s://www.rmail.com/resources/coordinated-universal-time/

     Message Envelope
     From:                                    mike cilento <michael@ilawco.com>
     Subject:                                 complaint in California District Court
     To:                                      <rhwdomains@amail.com>
     Cc:
     Bee:
     Network ID:                              31 af7863-9112-4e04-ad1c-f932f5ba634a.8ac23ec3-af16-4093-b386-d60c977a57ec@SM21
     Received by RMail System:                09/14/2022 09:39:11 PM (UTC)
     Client Code:

     Message Statistics
     Tracking Number:                         CB664D8D3B5B81E87AFA9BA1428D8628D7B9C58D
     Message Size:                            6189886

     Features Used:                             •        Mi-
                                                    -
     File Size:                               File Name:
     0.5 MB                                   0001 Complaint VPN v Dikian.pdf
     3.0 MB                                   0002 Civil Cover Sheet Vpn v Dikian et al.pdf
     330.5 KB                                 0003 Corp. Disclosure Vpn v Dikian et al.pdf
     19.5 KB                                  0005 Notice of Judge Assignment VPn v Dikian et al.pdf
     186.0 KB                                 0021 Du Summons lssued.pdf
     285.7 KB                                 0018 Order Granting Alternative Service.pdf

     Delivery Audit Trail
     9/14/2022 9:43:44 PM starting gmail.com/{default} 9/14/2022 9:43:48 PM connecting from mta21 .r1 .rnost.net (0.0.0.0) to gmail-smt1c
     in.l.gQQgle.com (142.251 .5.26) 9/14/2022 9:43:48 PM connected from 192.168.10.11 :53937 9/14/2022 9:43:48 PM»> 220
     mx.gQQgle.com ESMTP p3-20020adfcc83000000b00229a6326e47si170668w~.650 - gsmtp 9/14/2022 9:43:48 PM<« EHLO
     mta21 .r1 .most.net 9/14/2022 9:43:48 PM»> 250-mx.gQQgle.com at your service, [52.58.131 .9] 9/14/2022 9:43:48 PM»> 250-SIZE
     157286400 9/14/2022 9:43:48 PM»> 250-8BITMIME 9/14/2022 9:43:48 PM»> 250-STARTTLS 9/14/2022 9:43:48 PM»> 250-
     ENHANCEDSTATUSCODES 9/14/2022 9:43:48 PM»> 250-PIPELINING 9/14/2022 9:43:48 PM»> 250-CHUNKING 9/14/2022
     9:43:48 PM»> 250 SMTPUTF8 9/14/2022 9:43:48 PM<« STARTTLS 9/14/2022 9:43:48 PM»> 220 2.0.0 Ready to start TLS
     9/14/2022 9:43:48 PM tls:TLSv1 .2 connected with 128-bit ECDHE-ECDSA-AES128-GCM-SHA256 (session reused) 9/14/2022 9:43:48
     PM tls:Cert: /CN=mx.gQQgle.com; issuer=/C=US/O=Google Trust Services LLC/CN=GTS CA 1C3; verified=no 9/14/2022 9:43:48 PM<«
     EHLO mta21.r1 .q;iost.net 9/14/2022 9:43:48 PM»> 250-mx.gQQgle.com at your service, [52.58.131.9] 9/14/2022 9:43:48 PM»> 250-
     SIZE 157286400 9/14/2022 9:43:48 PM»> 250-8BITMIME 9/14/2022 9:43:48 PM»> 250-ENHANCEDSTATUSCODES 9/14/2022
     9:43:48 PM»> 250-PIPELINING 9/14/2022 9:43:48 PM»> 250-CHUNKING 9/14/2022 9:43:48 PM»> 250 SMTPUTF8 9/14/2022
     9:43:48 PM<« MAIL FROM: BODY=8BITMIME 9/14/2022 9:43:48 PM»> 250 2.1.0 OK p3-20020adfcc83000000b00229a6326e
     47si170668wrj.650 - gsmtp 9/14/2022 9:43:48 PM<« RCPT TO: 9/14/2022 9:43:48 PM»> 2502.1.5 OK p3-
     20020adfcc83000000b00229a6326e47si170668wrj.650 - gsmtp 9/14/2022 9:43:48 PM<« DATA 9/14/2022 9:43:48 PM»> 354 Go
     ahead p3-20020adfcc83000000b00229a6326e47si170668w~.650 - gsmtp 9/14/2022 9:43:49 PM<« . 9/14/2022 9:43:53 PM»> 250
     2.0.0 OK 1663191833 p3-20020adfcc83000000b00229a6326e47si170668w~.650 - gsmtp 9/14/2022 9:43:53 PM<« QUIT 9/14/2022
     9:43:53 PM »> 221 2.0.0 closing connection p3-20020adfcc83000000b00229a6326e47si170668wrj.650 - gsmtp 9/14/2022 9:43:53 PM
     closed gmail-smtP.-in.l.gQQgle.com (142.251 .5.26) in=828 out=6190261 9/14/2022 9:43:53 PM done gmail.com/{default}
     From:postmaster@mta21 .r1 .rpost.net:Hello, this is the mail server on mta21 .r1 .q;iost.net. I am sending you this message to inform you on
     the delivery status of a message you previously sent. Immediately below you will find a list of the affected recipients; also attached is a
     Delivery Status Notification (DSN) report in standard format, as well as the headers of the original message. relayed to mailer gmail-smt1c
     in.l.gQQgle.com (142.251 .5.26)
     [IP Address: 66.249.92.32] [Time Opened: 9/14/2022 9:43:59 PM] [REMOTE_HOST: 192.168.10.191] [HTTP_HOST: QJ;ien .r1 .[P.OSl.net]
     [SCRIPT_NAME: /open/images/h6vdMWZ48mZl9uB8kZM8GFhe9BiBshnbqUKnCmgzMDlx.png] HTTP_ACCEPT:image/avif,image/
     webp,image/apng ,image/svg+xml,image/*,*/*;q=0.8 HTTP_ACCEPT_ENCODING :gzip, deflate, br HTTP_ACCEPT_LANGUAGE:en-US
     HTTP_HOST:QJ;ien .r1 .[P.OSl.net HTTP_REFERER:l!!!J;i://mail.gQQgle.com/ HTTP USER AGENT:Mozilla/5.0 (Windows NT 10.0; Win64;
     x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/42.0.2311 .135 Safari/537.36 Edge/12.246 Mozilla/5.0
     HTTP_X_FORWARDED_FOR:66.249.92.32 HTTP_X_FORWARDED_PROTO:https HTTP_X_FORWARDED_PORT:443
     HTTP_X_AMZN_TRACE_ID: Root=1-63224b1f-779109fe20b2b3dd791 aa 17f Accept: image/avif, image/webp,image/
     apng,image/svg+xml,image/*,*/*;q=0.8 Accept-Encoding: gzip, deflate, br Accept-Language: en-US Host: QJ;ien .r1 .most.net Referer:
     htlJ;i://mail.gQQgle.com/ User-Agent: Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko)
     Chrome/42.0.2311 .135 Safari/537.36 Edge/12.246 Mozilla/5.0 X-Forwarded-For: 66.249.92.32 X-Forwarded-Proto: https X-Forwarded-
     Port: 443 X-Amzn-Trace-ld: Root=1-63224b1f-779109fe20b2b3dd791 aa17f /LM/W3SVC/5/ROOT 256 2048 C=US, S=VA, L=Herndon,
     O=Network Solutions L.L.C., CN=Network Solutions DV Server CA 2 CN=tracking,.rnost.com O CGl/1 .1 on 256 2048 C=US, S=VA,
     L=Herndon , O=Network Solutions L.L.C., CN=Network Solutions DV Server CA 2 CN=tracking,.rnost.com 5 /LM/W3SVC/5
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     192.168.10.186 /open/images/h6vdMWZ48mZl9uB8kZM8GFhe9BiBshnbqUKnCmgzMDlx.png 192.168.10.191 192.168.10.191 45498
     GET /open/images/h6vdMWZ48mZl9uB8kZM8GFhe9BiBshnbqUKnCmgzMDlx.png QP-en .r1 .r1:1ost.net 443 1 HTTP/1 .1 Microsoft-11S/8.5
     /open/images/h6vdMWZ48mZl9uB8kZM8GFhe9BiBshnbqUKnCmgzMDlx.png image/avif,image/webp,image/
     apng,image/svg+xml,image/*,*/*;q=0.8 gzip, deflate, br en-US 21:1en .r1 .r1:1ost.net !:!!!1:1://mail.google.com/ Mozilla/5.0 (Windows NT 10.0;
     Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/42.0.2311 .135 Safari/537.36 Edge/12.246 Mozilla/5.0 66.249.92.32 https
     443 Root=1-63224b1f-779109fe20b2b3dd791aa17f

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         1. An official time stamp.
         2. Proof that your message was sent and to whom it was sent.
         3. Proof that your message was delivered to its addressees or their authorized electronic agents.
         4. Proof of the content of your original message and all of its attachments.

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